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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORIGA
                           ROME DIVISION

MAVERICK FUND, LTD.,                     )
MAVERICK USA, L.P., MAVERICK             )
FUND II, LTD., MAVERICK LONG             )
FUND, LTD., MAVERICK LONG                )
ENHANCED FUND, LTD., AND                 ) Civil Action No.
SPRUGOS INVESTMENTS IX, L.L.C.,          ) 4:21-cv-118-TCB
                                         )
Plaintiffs,                              )
                                         )
vs.                                      )
                                         )
MOHAWK INDUSTRIES, INC.,                 )
JEFFREY S. LORBERBAUM, FRANK             )
H. BOYKIN and BRIAN CARSON,              )
                                         )
Defendants.                              )
                                         )


                     ORDER GRANTING DEFENDANTS’
                      UNOPPOSED MOTION TO STAY

       Having considered the Unopposed Motion to Stay by Mohawk Industries,

Inc., Jeffrey S. Lorberbaum, Frank H. Boykin, and Brian Carson, and good cause

having been shown,

       IT IS HEREBY ORDERED:

       1. That the Motion is GRANTED; and
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  2. All proceedings and deadlines in the above-captioned action are stayed

     through:

        a. 30 days after the Court grants the motion to dismiss (Dkt. 54) in

           Public Employees’ Retirement System of Mississippi v. Mohawk

           Industries, Inc., et al., No. 4:20-cv-00005-ELR (the “Class Action”)

           in full; or

        b. the deadline for defendants in the Class Action to answer the

           complaint (Dkt. 37) in the Class Action in the event the Court denies

           the motion to dismiss (Dkt. 54) in the Class Action in whole or in

           part.



SO ORDERED this ____         August
                19th day of ________________, 2021.




                                 The Honorable Timothy C. Batten, Sr.
                                 Chief United States District Judge




                                    2
